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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                      :
 MONETTE E. SACCAMENO,                                :
                                                      : Case No. 1:15-cv-1164
                               Plaintiff,             :
                                                      : Hon. Joan B. Gottschall
                          v.
                                                      :
 OCWEN LOAN SERVICING, LLC, and U.S.                  : Magistrate Judge Susan E. Cox
 BANK NATIONAL ASSOCIATION, as trustee                :
 for C-Bass Mortgage Loan Asset-Backed                :
 Certificates, Series 2007 RP1,                       :
                                                      :
                               Defendants.            :
                                                      :

            DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW

          In accord with Fed. R. Civ. P. 50, Defendants, Ocwen Loan Servicing, LLC (“Ocwen”)

 and U.S. Bank National Association, as trustee for C-Bass Mortgage Loan Asset-Backed

 Certificates, Series 2007 RP1 (“U.S. Bank”) (together “Defendants”), respectfully move for

 Judgment As A Matter of Law on Plaintiff, Monette E. Saccameno (“Plaintiff” or

 “Saccameno”)’s claims.

          Defendants’ Motion should be granted for five reasons:

          First, there is no legally sufficient evidentiary basis for a reasonable jury to find for
 Saccameno on the breach of contract claim (Count I), given that the evidence shows that
 Defendants complied with the Mortgage, Saccameno failed to make her monthly payments and
 there is no evidence of damages.

         Second, there is no legally sufficient evidentiary basis for a reasonable jury to find for
 Saccameno on the FDCPA claim (Count II) because there is no evidence that she sustained any
 actual damages as a direct result of Ocwen’s failure to comply with the FDCPA after February
 5, 2014.

        Third, there is no legally sufficient evidentiary basis for a reasonable jury to find for
 Saccameno on the ICFA claim (Count III) because Saccameno failed to prove that Ocwen
 engaged in an unfair or material deceptive act or practice, or that Ocwen intended for Saccameno
 intended for Saccameno to rely on any unfair or material deceptive act or practice, or that



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 Saccameno sustained actual damages, i.e., actual pecuniary loss, proximately caused by an
 unfair or material deceptive act or practice.

          Fourth, there is no legally sufficient evidentiary basis for a reasonable jury to award
 punitive damages on the ICFA claim (Count IV) because Saccameno has failed to prove: (1)
 any pecuniary loss proximately caused by an unfair or deceptive practice, (2) conduct was
 committed with fraud, actual malice, deliberate violence or oppression, or Ocwen acted
 willfully, or with such gross negligence as to indicate a wanton disregard of the rights, or (3)
 sufficient corporate management authorization or approval of the unfair or material deceptive
 act or practice.

         Fifth, there is no legally sufficient evidentiary basis for a reasonable jury to find for
 Saccameno on the RESPA Claim (Count IV) because the evidence shows that Ocwen
 investigated and provided written responses to Saccameno’s two written requests.


  Dated: April 9, 2018                               By:   /s/ Lynne E. Evans

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                                                     Association, as trustee for C-Bass Mortgage
                                                     Loan Asset-Backed Certificates, Series 2007
                                                     RP1




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